Case 2:16-cv-05124-DMG-AGR Document 237 Filed 05/17/19 Page 1 of 27 Page ID #:4570




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     and the Putative Class
13

14                       UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
15
                                     Western Division
16

17   DIANA SOUKHAPHONH, individually             Case No. 2:16-CV-05124-DMG (AGRx)
18
     and on behalf of all others similarly
     situated,
19                                               PLAINTIFF’S UNOPPOSED MOTION
           Plaintiff,                            FOR PRELIMINARY APPROVAL OF
20                                                 CLASS ACTION SETTLEMENT
                                                          AGREEMENT
     v.
21

22   HOT TOPIC, INC., a California
     corporation,
23
           Defendant.
24

25

26

27

28
     Plaintiff’s Unopposed Motion for Preliminary Approval of Class Action Settlement
Case 2:16-cv-05124-DMG-AGR Document 237 Filed 05/17/19 Page 2 of 27 Page ID #:4571




 1
              Plaintiff Diana Soukhaphonh, individually and as the putative representative of the
 2
     proposed Settlement Class, moves for preliminary approval of the Parties’ Class Action
 3

 4   Settlement Agreement (the “Settlement Agreement” or “Settlement”), certifying a class for
 5
     settlement purposes only, a copy of which is attached as Exhibit A.1
 6

 7
         I.      INTRODUCTION

 8            In this Action, Plaintiff alleged that Defendant Hot Topic, Inc. (“Defendant” or “Hot
 9
     Topic”) sent text messages to the Plaintiff’s and Settlement Class Members’ wireless
10

11
     telephones without first obtaining their express written consent and in violation of the

12   Telephone Consumer Protection Act, 47 U.S.C. § 227 (the “TCPA”).
13
              This litigation has been both comprehensive and contentious. Since this case was
14

15   filed, Hot Topic filed motions, which were fully briefed, seeking to dismiss for lack of

16   Article III standing (D.E. 21, 23, 24) and for summary judgment against Plaintiff on the
17
     issue of consent (D.E. 53, 54, 55, 56, 57, 144, 145, 146, 147, 148, 149, 150, 158, 159, 160,
18

19   161, 162, 163, 164, 165, 175). The case included two amended answers to Plaintiff’s

20   complaint, a motion to stay (which was granted), an Order lifting the stay, an Order
21
     Denying Defendant’s Motion for Summary Judgment, Order Denying Defendant’s Motion
22

23   to Dismiss, supplemental briefings on various issues, notices of supplemental authority,

24   joint discovery and pretrial proposals, a stipulated confidentiality order, among many other
25

26   1
            Unless otherwise noted, all capitalized terms have the same meaning as ascribed to it in the
     Settlement Agreement.
27
                                                     2
28
     Plaintiff’s Unopposed Motion for Preliminary Approval of Class Action Settlement
Case 2:16-cv-05124-DMG-AGR Document 237 Filed 05/17/19 Page 3 of 27 Page ID #:4572




 1
     things. Before reaching settlement, the parties had completed phase 1 discovery, retained

 2   experts, engaged in vigorous motion practice relating to discovery matters, and were
 3
     concluding phase 2 discovery. On March 18, 2019, Plaintiff filed her Motion for Class
 4

 5   Certification (D.E. 212) and Plaintiff’s Motion for Class Certification had been filed. On

 6   April 9, 2019, Plaintiff filed a Notice of Settlement (D.E.227).
 7
            Settlement negotiations were contentious and hard fought. The Parties engaged the
 8

 9   assistance of a highly-respected and experienced mediator, Hon. Edward A. Infante (Ret.)

10   for a full day of mediation. After the mediation concluded without a settlement, the Parties
11
     continued to litigate this case vigorously and to advocate their respective positions.
12

13   Following several weeks of arms-length negotiations during March-April 2019, the parties

14   were able to reach a settlement.
15
           The cornerstone of the Settlement is the substantial, concrete monetary relief it
16

17   provides to Settlement Class Members. As set forth in the Settlement Agreement, the
18   Settlement creates a Settlement Fund of up to $2,985,000, with a minimum non-
19
     reversionary fund of $1,500,000, which will be paid, pursuant to a hybrid pro rata and
20

21   claims made basis and subject to certain deductions, to all Settlement Class Members who
22   submit a valid Claim Form. The costs of notice, settlement administration, the amounts
23
     awarded by the Court for attorneys’ fees and expenses, and Plaintiff’s service award will
24

25   be deducted from the Settlement Fund prior to payments to the Settlement Class Members.
26
                                               3
27
     Plaintiff’s Unopposed Motion for Preliminary Approval of Class Action Settlement
28
Case 2:16-cv-05124-DMG-AGR Document 237 Filed 05/17/19 Page 4 of 27 Page ID #:4573




 1
     The Settlement also provides for prospective relief in the form of Hot Topic’s cessation of

 2   its text marketing program with Hot Topic’s commitment to undertake substantive training
 3
     before re-engaging in a text message program. The Settlement also provides that the best
 4

 5   practicable notice be provided to Settlement Class Members and calls for the designation

 6   of a reputable and competent professional Settlement Administrator2 to disseminate notice
 7
     of and administer the Settlement. The proposed Notice Plan utilizes individual notice to
 8

 9 effectively reach the Settlement Class and is expected to directly reach approximately 90-

10 98% of likely Settlement Class Members.

11
            In light of the extensive monetary relief available under the Settlement Agreement,
12

13 the Court should find the Settlement to be well within the bounds of reasonableness and,

14 thus, should preliminarily certify for settlement purposes the Settlement Class and approve

15
     the Settlement Agreement.
16

17 II.      HISTORY OF THE LITIGATION
18          On July 12, 2016, following extensive pre-filing investigations3, the Plaintiff filed a
19

20
     2
       Prior to executing the Settlement Agreement, the Parties procured competitive bids from four
21   reputable and well qualified professional settlement administrators. The estimates were prepared
     based on detailed information, provided by the Parties, regarding the number of Settlement Class
22
     Members, the form of Hot Topic’s records, and the type and extent of contact information Hot
23   Topic has on file for the Settlement Class Members. The Parties ultimately selected KCC Class
     Action Services (“KCC”) and now seek the Court’s approval to retain KCC to administer the
24   settlement funds and notice program.
     3
       In the weeks preceding the filing of the Complaint, Plaintiff and her counsel investigated all
25   aspects of this case, including the means by which Hot Topic acquired consumers’ cellular
     telephone numbers, the dialing technology used by Hot Topic to deliver text messages, and
26
                                                    4
27
     Plaintiff’s Unopposed Motion for Preliminary Approval of Class Action Settlement
28
Case 2:16-cv-05124-DMG-AGR Document 237 Filed 05/17/19 Page 5 of 27 Page ID #:4574




 1
     Class Action Complaint in the District Court for the Central District of California. The

 2   material allegations of the complaint centered on Hot Topic’s transmission of text
 3
     messages in alleged violation of the TCPA without prior express written consent from the
 4

 5 recipients. Specifically, the Plaintiff alleged that Defendant sent Plaintiff a promotional

 6 text message without Plaintiff’s consent and further that Defendant had engaged in a wide

 7
     scale practice of sending promotional text messages to consumers throughout the United
 8

 9 States without the level of consent required pursuant to the TCPA.

10          Hot Topic has and continues to deny that it committed any wrongdoing or that it
11
     threatened or attempted to commit, any wrongful act or violation of law or duty as alleged
12

13   in the Action and vowed to both defend this Action and to oppose certification of a

14   litigation class. Nonetheless, taking into account the uncertainty and risks inherent in any
15
     litigation, Hot Topic has concluded it is desirable and beneficial that the Action be fully
16

17   and finally settled and terminated in the manner and upon the terms and conditions set forth
18   in the Settlement Agreement. Plaintiff believes that the claims asserted in the Action
19
     against Hot Topic have merit and that she would have prevailed at trial. Nonetheless,
20

21   Plaintiff and Class Counsel recognize that Hot Topic raised factual and legal defenses that
22

23   potential litigation risks relating to the terms ATDS, “advertisement,” “telemarketing,”
     “promotional,” and “express written consent.” See Declaration of David P. Milian (“Milian Decl.”)
24   ¶ 5 attached hereto as Composite Exhibit “C”. Counsel conducted numerous pre-filing interviews
     of Plaintiff and reviewed electronic data and other various material available online concerning
25
     Defendant’s marketing practices. Id.
26
                                                    5
27
     Plaintiff’s Unopposed Motion for Preliminary Approval of Class Action Settlement
28
Case 2:16-cv-05124-DMG-AGR Document 237 Filed 05/17/19 Page 6 of 27 Page ID #:4575




 1
     present a risk that Plaintiff may not prevail. Plaintiff and Class Counsel also recognize the

 2   expense and delay associated with continued prosecution of the Action against Hot Topic
 3
     through class certification, summary judgment, trial, and any subsequent appeals. Plaintiff
 4

 5   and Class Counsel have also taken into account the uncertain outcome and risks of

 6   litigation, especially in complex class actions such as this, as well as the difficulties
 7
     inherent in such litigation. Therefore, Plaintiff believes it is desirable that the Released
 8

 9   Claims be fully and finally compromised, settled, and resolved with prejudice. Based on

10   its evaluation, Class Counsel has concluded that the terms and conditions of this Agreement
11
     are fair, reasonable, and adequate to the Settlement Class, and that it is in the best interests
12

13   of the Settlement Class to settle the claims raised in the Action pursuant to the terms and

14   provisions of this Agreement.
15
        III.   SETTLEMENT TERMS
16

17         The Parties propose to certify the following Settlement Class:
18                All Persons who received one or more text messages
19                sent by or on behalf of Defendant Hot Topic to a
                  cellular phone between August 1, 2012 and the date
20                this Agreement is preliminarily approved.
21
     Excluded from the Settlement Class are (1) any Judge or Magistrate presiding over this
22

23   Action and members of their families; (2) the Defendant, Defendant’s subsidiaries, parent
24   companies, successors, predecessors, and any entity in which the Defendant or its parent
25
     company, if any, has a controlling interest and their current or former officers, directors,
26
                                                6
27
     Plaintiff’s Unopposed Motion for Preliminary Approval of Class Action Settlement
28
Case 2:16-cv-05124-DMG-AGR Document 237 Filed 05/17/19 Page 7 of 27 Page ID #:4576




 1
     agents, attorneys, and employees; (3) persons who properly execute and file a valid and

 2   timely request for exclusion from the class; and (4) the legal representatives, successors or
 3
     assigns of any such excluded persons.
 4

 5   a. Monetary Settlement Relief

 6         The cornerstone of the Settlement is the substantial, concrete monetary relief it
 7
     provides to Settlement Class Members. The Settlement Agreement allows the Settlement
 8

 9   Class Members to look to a Settlement Fund of up to $2,985,000 for settlement and

10   satisfaction of their claims.
11
           The first $1,500,000 of the Settlement Fund is entirely non-reversionary, meaning
12

13   that no part of it can revert to Defendants under any circumstance. In addition, to the extent

14   that the total amount of Approved Claims multiplied by Fifteen Dollars ($15.00) exceeds
15
     $1,500,000, the Settlement Fund will be increased upwards so that it equals the total
16

17   amount of Approved Claims multiplied by Fifteen Dollars ($15.00) up to the total amount
18   of the Settlement Fund, i.e., $2,985,000.00. The total Settlement Fund, as calculated above,
19
     will be used to pay all administration expenses and fees and will then be apportioned among
20

21   the Settlement Class Members on a pro rata basis.
22         To receive a Cash Award under the terms and conditions of the Settlement, a
23
     Settlement Class Member must, among other things, truthfully, accurately, and completely
24

25   fill out and sign the Claim Form, attesting to their receipt of a text message, and either
26
                                                7
27
     Plaintiff’s Unopposed Motion for Preliminary Approval of Class Action Settlement
28
Case 2:16-cv-05124-DMG-AGR Document 237 Filed 05/17/19 Page 8 of 27 Page ID #:4577




 1
     submit the Claim Form on the Settlement Website or mail the Claim Form to the Settlement

 2   Administrator, postmarked on or before the Claims Submission Deadline.
 3
           The amount of a Settlement Class Member’s Cash Award depends on the number of
 4

 5   Persons who submit valid Claim Forms and the amounts deducted from the Settlement

 6   Fund for notice and class action administration, attorneys’ fees and expenses, and service
 7
     awards.
 8

 9         The claims process and Claim Form will be as least burdensome and time consuming

10   as possible. Moreover, the Claims Form will present objective criteria that Settlement Class
11
     Members may fairly satisfy to receive relief.
12

13   b. Injunctive Settlement Relief

14         In addition to the substantial monetary relief that the Settlement provides, additional
15
     core relief includes changes to Hot Topic’s business practice of sending marketing text
16

17   messages to consumers. Indeed, as a current benefit, Hot Topic has represented that it has
18   already halted its text message marketing program. Hot Topic further agrees that before
19
     engaging in any new text message marketing program, that it will implement a training
20

21   program and compliance protocols to ensure compliance with the Telephone Consumer
22   Protection Act, 47 U.S.C. § 227, et. seq. These training programs and compliance protocols
23
     will train relevant personnel on both legal compliance and how to maintain best practices.
24

25

26
                                               8
27
     Plaintiff’s Unopposed Motion for Preliminary Approval of Class Action Settlement
28
Case 2:16-cv-05124-DMG-AGR Document 237 Filed 05/17/19 Page 9 of 27 Page ID #:4578




 1
     c. Class Notice and Claims Administration

 2         Furthermore, the Settlement Agreement requires Court appointment of a reputable
 3
     Class Action Administrator, the dissemination of best practicable notice, a transparent
 4

 5   settlement administration process, a Settlement website, a toll-free information line with

 6   taped frequently asked questions and a voicemail box, a centralized post-office box to
 7
     correspond with Settlement Class Members, and a detailed process for administering
 8

 9   Claims Payments for Settlement Class Members. Following review of four competitive

10   bids, the Parties have identified a claims administrator whom they believe is best suited to
11
     serve as the administrator in this particular matter. To this end, the Parties seek this Court’s
12

13   approval to retain KCC, LLC, 3301 Kerner Boulevard, San Rafael, CA 94901 to serve as

14   the class action settlement claims administrator. A copy of the Declaration of Carla A.
15
     Peak, KCC’s Vice President of Legal Notification Services, attesting to her and KCC’s
16

17   qualifications is submitted herewith as Exhibit B.
18         The Notice program is designed to provide the Settlement Class with important
19
     information regarding the Settlement and their rights thereunder, including a description of
20

21 the material terms of the Settlement; a date by which Settlement Class members may

22   exclude themselves from or “opt-out” of the Settlement Class; a date by which Settlement
23
     Class members may object to the Settlement; Class Counsel’s fee application and/or the
24

25   request for a Service Award; the date of the Final Approval Hearing; information regarding
26
                                                 9
27
     Plaintiff’s Unopposed Motion for Preliminary Approval of Class Action Settlement
28
     Case 2:16-cv-05124-DMG-AGR Document 237 Filed 05/17/19 Page 10 of 27 Page ID
                                      #:4579



 1
      the Settlement Website where Settlement Class members may access the Agreement; and

 2    other important documents.
 3
            The costs associated with dissemination of the Class Notice and administration of
 4

 5    the Settlement will be paid from the Settlement Fund, subject to the Court’s approval.

 6          Finally, Hot Topic is required to comply with the notice provisions of the Class
 7
      Action Fairness Act of 2005, 28 U.S.C. §1715, et seq.
 8

 9           By this Motion, the Parties seek this Court’s approval of the following proposed

10    Claim Form and Notices which are attached to the Settlement Agreement: (i) Claim Form
11
      (Exhibit A); (ii) Individual Notice via U.S. Mail (Exhibit C); (iii) Email Notice (Exhibit
12

13    B), and; (iv) Settlement Website Notice (Exhibit D).

14    d. Objectors and Opt-Outs
15
            To the extent that any Settlement Class Members object to the Settlement, the Parties
16

17    ask the Court to adopt the deadlines and procedures for objectors set forth in the proposed
18    Class Notice to ensure that that all interested persons are afforded a reasonable opportunity
19
      to be heard and that the Final Approval Hearing may be conducted in an orderly, efficient,
20

21    and just manner. First, the proposed Settlement provides a procedure for any Settlement
22    Class Member who wishes to opt-out of the Settlement. Second, any Settlement Class
23
      Member or governmental entity with standing that wishes to object to the proposed
24

25    Settlement must do so by filing a timely written statement, containing all information
26
                                                10
27
      Plaintiff’s Unopposed Motion for Preliminary Approval of Class Action Settlement
28
     Case 2:16-cv-05124-DMG-AGR Document 237 Filed 05/17/19 Page 11 of 27 Page ID
                                      #:4580



 1
      required by the proposed Class Notice, with the Court on or before Objection/Exclusion

 2    Deadline. Third, any attorney or Settlement Class Member who intends to appear or speak
 3
      at the Final Approval Hearing must enter a written notice of appearance with the Court on
 4

 5 or before the Objection/Exclusion Deadline. To be timely, requests for exclusion must be

 6 received no later than the Objection/Exclusion Deadline, and simply and clearly state the

 7
      Settlement Class Member’s intention to exclude themselves from the Settlement.
 8

 9          An objection must be submitted timely and contain at least the following: (1) a

10    heading that refers to the Action by case name and number; (2) a statement whether the
11
      objecting Settlement Class Member intends to appear at the Final Approval Hearing, either
12

13    in person or through counsel and, if through counsel, a statement identifying that counsel

14    by name, bar number, address, and telephone number; and (3) a statement of the specific
15
      legal and factual basis for each objection.
16

17          The Settlement Agreement also provides for the Court’s Preliminary Approval Order
18    to contain a temporary injunction enjoining other proceedings relating to the Released
19
      Claims in order to preserve the status quo pending the Court’s final decision on the
20

21    reasonableness and fairness of the Settlement.
22    e. Release of Claims
23
            In exchange for the Settlement consideration, Plaintiff and all Settlement Class
24

25    members agree to the release defined in the Agreement.
26
                                                11
27
      Plaintiff’s Unopposed Motion for Preliminary Approval of Class Action Settlement
28
     Case 2:16-cv-05124-DMG-AGR Document 237 Filed 05/17/19 Page 12 of 27 Page ID
                                      #:4581



 1
         IV.    THE PROPOSED SETTLEMENT IS WITHIN THE RANGE OF
                REASONABLENESS, MEETS ALL RULE 23(e) REQUIREMENTS
 2              AND WARRANTS PRELIMINARY APPROVAL
 3
                a. The Legal Standard for Preliminary Approval
 4
            A class action may not be dismissed, compromised or settled without the approval
 5

 6    of the court. See Fed. R. Civ. Proc. 23(e). Judicial proceedings under Rule 23 have led to a
 7
      defined procedure and specific criteria for settlement approval in class action settlements,
 8
      described in the Manual for Complex Litigation (Fourth) (Fed. Judicial Center 2004)
 9

10    (“Manual”) § 21.63, et seq., including preliminary approval, dissemination of notice to
11
      class members, and a fairness hearing. Manual, §§ 21.632, 21.633, 21.634. The purpose of
12
      the Court’s preliminary evaluation of the settlement is to determine whether it is within the
13

14    “range of reasonableness,” and thus whether notice to the class of the terms and conditions
15
      of the settlement, and the scheduling of a formal fairness hearing, are worthwhile. See 4
16
      Herbert B. Newberg, Newberg on Class Actions § 11.25 et seq., and § 13.64 (4th ed. 2002
17

18    and Supp. 2004) (“Newberg”).
19
            The Court is not required to undertake an in-depth consideration of the relevant
20
      factors for final approval. Instead, the “judge must make a preliminary determination on
21

22    the fairness, reasonableness, and adequacy of the settlement terms and must direct the
23
      preparation of notice of the certification, proposed settlement, and date of the final fairness
24

25
      hearing.” Manual, § 21.632 (4th ed. 2004). When the proposed settlement appears to be

26
                                                12
27
      Plaintiff’s Unopposed Motion for Preliminary Approval of Class Action Settlement
28
     Case 2:16-cv-05124-DMG-AGR Document 237 Filed 05/17/19 Page 13 of 27 Page ID
                                      #:4582



 1
      the product of serious, informed, non-collusive negotiations, has no obvious deficiencies,

 2    does not improperly grant preferential treatment to class representatives or segments of the
 3
      class, and falls within the range of possible approval, preliminary approval is appropriate.
 4

 5    McDonald v. Bass Pro Outdoor World, LLC, 2014 WL 3867522, *6 (S.D. Cal. Aug. 5,

 6    2014); In re Tableware Antitrust Litig., 484 F. Supp. 2d 1078, 1079-80 (N.D. Cal. 2007)
 7
      (same).
 8

 9            As a matter of public policy, settlement is a strongly favored method for resolving

10    disputes. See Utility Reform Project v. Bonneville Power Admin., 869 F.2d 437, 443 (9th
11
      Cir. 1989). This is especially true in class actions such as this. See In re Syncor ERISA
12

13    Litig., 516 F.3d 1095, 1101 (9th Cir. 2008); Officers for Justice v. Civil Service Comm’n,

14 688 F.2d 615 (9th Cir. 1982) (“[V]oluntary conciliation and settlement are the preferred

15
      means of dispute resolution. This is especially true in complex class action litigation.”).4
16

17 As a result, courts should exercise their discretion to approve settlements “in recognition

18 of the policy encouraging settlement of disputed claims.” In re Prudential Sec. Inc. Ltd.

19
      Partnerships Litig., 163 F.R.D. 200, 209 (S.D.N.Y. 1995). To make the preliminary
20

21 fairness determination, courts may consider several relevant factors, including “the

22 strength of the plaintiffs’ case; the risk, expense, complexity, and likely duration of further

23

24    4
       The law favors settlement particularly in class actions and other complex cases where substantial resources can be
25    conserved by avoiding the time, cost, and rigors of formal litigation. See H. Newberg & A. Conte, Newberg on Class
      Actions, §13.44 (5th ed. 2011) (hereinafter “Newberg”); Class Plaintiffs v. City of Seattle, 955 F.3 1268, 1275 (9th
      Cir. 1992).
26
                                                              13
27
      Plaintiff’s Unopposed Motion for Preliminary Approval of Class Action Settlement
28
     Case 2:16-cv-05124-DMG-AGR Document 237 Filed 05/17/19 Page 14 of 27 Page ID
                                      #:4583



 1
      litigation; the risk of maintaining class action status through trial; the amount offered in

 2    settlement; the extent of discovery completed and the stage of the proceedings; [and] the
 3
      experience and views of counsel...” See Hanlon v. Chrysler Corp., 150 F.3d 1011, 1026
 4

 5    (9th Cir. 1998).

 6          Courts must give “proper deference to the private consensual decision of the
 7
      parties,” since “the court’s intrusion upon what is otherwise a private consensual agreement
 8

 9    negotiated between the parties to a lawsuit must be limited to the extent necessary to reach

10    a reasoned judgment that the agreement is not the product of fraud or overreaching by, or
11
      collusion between, the negotiating parties, and that the settlement, taken as a whole, is fair,
12

13 reasonable and adequate to all concerned.” Hanlon, 150 F.3d at 1027. Preliminary approval

14    does not require a final determination that the settlement is fair, reasonable, and adequate,
15
      as that decision is made only at the final approval stage, after notice of the settlement has
16

17    been given to the class and they have had an opportunity to voice their views of the
18    settlement or to exclude themselves from the settlement. See James Wm. Moore, Moore’s
19
      Federal Practice – Civil § 23.165[3] (3d ed.). Thus, in considering a potential settlement,
20

21    the Court need not reach any ultimate conclusions on the issues of fact and law, which
22 underlie the merits of the dispute, West Va. v. Chas. Pfizer & Co., 440 F.2d 1079, 1086 (2d

23
      Cir. 1971), and need not engage in a trial on the merits, Officers for Justice v. Civil Service
24

25 Comm’n, 688 F.2d at 625.

26
                                                14
27
      Plaintiff’s Unopposed Motion for Preliminary Approval of Class Action Settlement
28
     Case 2:16-cv-05124-DMG-AGR Document 237 Filed 05/17/19 Page 15 of 27 Page ID
                                      #:4584



 1
            Preliminary approval is merely the prerequisite to giving notice so that “the proposed

 2    settlement...may be submitted to members of the prospective class for their acceptance or
 3
      rejection.” Philadelphia Hous. Auth. v. Am. Radiator & Standard Sanitary Corp., 323 F.
 4

 5    Supp. 364, 372 (E.D. Pa. 1970). Preliminary approval of the settlement should be granted

 6    if there are no “reservations about the settlement, such as unduly preferential treatment of
 7
      class representatives or segments of the class, inadequate compensation or harms to the
 8

 9    classes, the need for subclasses, or excessive compensation for attorneys.” Manual, §

10    21.632, at 321.
11
            The opinion of experienced counsel supporting the settlement is entitled to
12

13    considerable weight. The decision to approve or reject a proposed settlement “is committed

14    to the sound discretion of the trial judge[.]” See Hanlon, 150 F.3d at 1026. This discretion
15
      is to be exercised “in light of the strong judicial policy that favors settlements, particularly
16

17    where complex class action litigation is concerned,” which minimizes substantial litigation
18    expenses for both sides and conserves judicial resources. See Linney v. Cellular Alaska
19
      P’ship, 151 F.3d 1234, 1238 (9th Cir. 1998) (quotations omitted).
20

21          Based on these standards, Class Counsel respectfully submit that, for the reasons
22    detailed herein, the Court should preliminarily approve the proposed Settlement as fair,
23
      reasonable and adequate.
24

25

26
                                                 15
27
      Plaintiff’s Unopposed Motion for Preliminary Approval of Class Action Settlement
28
     Case 2:16-cv-05124-DMG-AGR Document 237 Filed 05/17/19 Page 16 of 27 Page ID
                                      #:4585



 1
               b. The Proposed Notice and Class Administration Protocols Warrant
                  Providing Notice to the Class
 2

 3          As set forth above, the proposed notice and class administration protocols are

 4    designed to provide the best notice practicable. Through a combination of direct mail,
 5
      email, website interaction, and a targeted digital media program, the proposed notice
 6

 7    protocol provides clear and concise information about the settlement terms, class members’

 8    rights, and is designed to reach as many members of the settlement class as possible.
 9
               c. The Settlement Provides Substantial and Immediate Relief to the
10                Settlement Class Members
11
            As with similar TCPA class action settlements (see Barani v. Wells Fargo Bank,
12

13    N.A., 2014 WL 1389329, *9 (S.D. Cal. Apr. 9, 2014); Malta v. Fed. Home Loan Mortg.

14    Corp., 2013 WL 444619, *10 (S.D. Cal. Feb. 5, 2013)), this proposed Settlement should
15
      be preliminarily approved. Settlement Class Members will receive immediate cash
16

17    compensation merely by submitting a claim, without any risk or expense of an individual
18    lawsuit. Moreover, the Settlement avoids the risks of the Plaintiff and the Settlement Class
19
      Members receiving nothing should the class certification decision be reversed and/or if Hot
20

21    Topic’s ultimately prevails on summary judgment, trial, or in an appeal.
22          Although the TCPA provides for statutory damages of $500 for each violation, it is
23
      well settled that a proposed settlement may be acceptable even though it amounts to only
24

25    a percentage of the potential recovery that might be available to the class members at trial.
26
                                                16
27
      Plaintiff’s Unopposed Motion for Preliminary Approval of Class Action Settlement
28
     Case 2:16-cv-05124-DMG-AGR Document 237 Filed 05/17/19 Page 17 of 27 Page ID
                                      #:4586



 1
      See e.g., National Rural Tele. Coop. v. DIRECTV, Inc., 221 F.R.D. 523, 527 (C.D. Cal.

 2    2004) (“well settled law that a proposed settlement may be acceptable even though it
 3
      amounts to only a fraction of the potential recovery”); see also In re Global Crossing Sec.
 4

 5    and ERISA Litig., 225 F.R.D. 436, 460 (E.D. Pa. 2000) (“the fact that a proposed settlement

 6    constitutes a relatively small percentage of the most optimistic estimate does not, in itself,
 7
      weigh against the settlement; rather, the percentage should be considered in light of
 8

 9    strength of the claims”). The Class Members here will immediately share in a nearly $3

10    million recovery fund for taking the brief amount of time necessary to submit a claim. The
11
      Class will also benefit from the deterrent effect of this TCPA Settlement on the placing of
12

13    future calls to cellular telephones using an ATDS or prerecorded voice without prior

14    express consent. Thus, the Action will provide substantial benefit to the Class Members,
15
      in the form of cash, prospective relief in the form of Hot Topic’s cessation of its text
16

17    marketing program, as well as through its deterrent effect on other businesses that engage
18    in similar conduct.
19
                d. The Settlement is a Product of Well-Informed, Arm’s Length
20                 Negotiations
21
            “Settlements that follow sufficient discovery and genuine arms-length negotiation
22

23    are presumed fair.” In re Wireless Facilities, Inc. Sec. Litig. II, 253 F.R.D. 607, 610 (S.D.
24    Cal. 2008). The Settlement here is the result of extensive, arm’s-length negotiations
25
      between experienced attorneys who are most knowledgeable with this class action
26
                                                17
27
      Plaintiff’s Unopposed Motion for Preliminary Approval of Class Action Settlement
28
     Case 2:16-cv-05124-DMG-AGR Document 237 Filed 05/17/19 Page 18 of 27 Page ID
                                      #:4587



 1
      litigation and with the legal and factual issues of this Action. Indeed, this litigation was

 2    contentious with each side vigorously advocating its positions. Furthermore, Class Counsel
 3
      are experienced in the litigation, certification, trial, and settlement of nationwide class
 4

 5 action cases and zealously represented the Plaintiff throughout this litigation.

 6            In negotiating this Settlement, Class Counsel had the benefit of years of experience
 7
      in litigating and settling complex class actions and have an intimate familiarity with the
 8

 9 facts of the Action. Class Counsel received extensive class discovery as part of the

10 litigation process, and this enabled them to gain a better understanding of the marketing

11
      program at issue.
12

13               e. The Complexity, Expense, and Duration of Further Litigation
                    Favors Settlement
14

15            The traditional means for handling claims like those at issue here tax the court

16 system, require massive expenditures of public and private resources, and, given the

17
      relatively small value of the claims of the individual class members, would be
18

19 impracticable. Thus, the Settlement is the best vehicle for Settlement Class Members to

20 receive the relief to which they claim entitlement in a prompt and efficient manner.

21
         V.      THE CLASS SHOULD BE CONDITIONALLY CERTIFIED
22

23            “Confronted with a request for settlement-only class certification, a district court
24    need not inquire whether the case, if tried, would present intractable management problems
25

26
                                                18
27
      Plaintiff’s Unopposed Motion for Preliminary Approval of Class Action Settlement
28
     Case 2:16-cv-05124-DMG-AGR Document 237 Filed 05/17/19 Page 19 of 27 Page ID
                                      #:4588



 1
      . . . for the proposal is that there be no trial.” Amchem Products, Inc. v. Windsor, 521 U.S.

 2    591, 620 (1997).
 3
            Certification of the proposed Settlement Class will allow notice of the Settlement to
 4

 5 issue to inform Settlement Class members of the existence and terms of the Settlement, of

 6    their right to object and be heard on its fairness, of their right to opt-out, and of the date,
 7
      time and place of the Final Approval Hearing. See Manual for Compl. Lit., at §§ 21.632,
 8

 9    21.633. For the reasons set forth below, certification is appropriate under Fed. R. Civ. P.

10    23(a) and (b)(3).
11
                a. The Requirements of Fed. R. Civ. P. 23(a)(1)-(4) Are Satisfied
12

13          Certification under Fed. R. Civ. P. 23(a) of the Federal Rules of Civil Procedure

14    requires that (1) the class is so numerous that joinder of all members is impracticable, (2)
15
      there are questions of law or fact common to the class, (3) the claims or defenses of the
16

17    representative parties are typical of the claims or defenses of the class, and (4) the
18    representative parties will fairly and adequately protect the interests of the class.
19
                          1. Numerosity
20

21          The numerosity requirement of Fed. R. Civ. P. 23(a) is satisfied because the
22    Settlement Class consists of more than one million individuals residing throughout the
23
      United States and joinder of all such persons is impracticable. See Fed. R. Civ. P. 23(a)(1);
24

25

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                                                 19
27
      Plaintiff’s Unopposed Motion for Preliminary Approval of Class Action Settlement
28
     Case 2:16-cv-05124-DMG-AGR Document 237 Filed 05/17/19 Page 20 of 27 Page ID
                                      #:4589



 1
      Jordan v. County of Los Angeles, 669 F.2d 1311, 1319 & n.10 (9th Cir. 1982) (listing

 2    thirteen cases in which courts certified classes with fewer than 100 members).
 3
                        2. Commonality
 4

 5          “Commonality requires the plaintiff to demonstrate that the class members ‘have

 6    suffered the same injury,’” and the plaintiff’s common contention “must be of such a nature
 7
      that it is capable of classwide resolution – which means that determination of its truth or
 8

 9    falsity will resolve an issue that is central to the validity of each one of the claims in one

10    stroke.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 131 S. Ct. 2541, 2551 (2011)
11
      (citation omitted). Here, the commonality requirement is readily satisfied. There are
12

13    multiple questions of law and fact – centering on Hot Topic’s text marketing program –

14    that are common to the Settlement Class, that are alleged to have injured all Settlement
15
      Class members in the same way, and that would generate common answers.
16

17                      3. Typicality
18          For similar reasons, Plaintiff’s claims are reasonably coextensive with those of the
19
      absent Settlement Class Members such that the Fed. R. Civ. P. 23(a)(3) typicality
20

21    requirement is satisfied. See Meyer v. Portfolio Recovery Assocs., LLC, 707 F.3d 1036,
22    1041-42 (9th Cir. 2012) (upholding typicality finding); see also Malta v. Fed. Home Loan
23
      Mortg. Corp., 2013 WL 444619, *2 (S.D. Cal. Feb. 5, 2013) (S.D. Cal. Feb. 4. 2013)
24

25    (finding typicality where TCPA claim stemmed from same course of conduct and were
26
                                                20
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      Plaintiff’s Unopposed Motion for Preliminary Approval of Class Action Settlement
28
     Case 2:16-cv-05124-DMG-AGR Document 237 Filed 05/17/19 Page 21 of 27 Page ID
                                      #:4590



 1
      based on same legal theory). Plaintiff is typical of the absent Settlement Class members

 2    because he received the same or similar text messages and suffered the same injuries, and
 3
      because they will all benefit from the relief provided by the Settlement.
 4

 5                      4. Adequacy of Representation

 6          Plaintiff and Class Counsel also satisfy the adequacy of representation requirement.
 7
      Adequacy under Fed. R. Civ. P. 23(a)(4) relates to (1) whether the proposed class
 8

 9    representative has interests antagonistic to the class; and (2) whether the proposed class

10    counsel has the competence to undertake this litigation. Plaintiff’s interests are coextensive
11
      with, not antagonistic to, the interests of the Settlement Class, because Plaintiff and the
12

13    absent Settlement Class members have the same interest in the relief afforded by the

14    Settlement, and the absent Settlement Class members have no diverging interests. Further,
15
      Plaintiff and the Settlement Class are represented by qualified and competent Class
16

17    Counsel who have extensive experience and expertise prosecuting complex class actions.
18    Class Counsel devoted substantial time and resources to vigorous litigation of the Action..
19
      Declarations of Class Counsel are submitted herewith as Composite Exhibit C.
20

21              b. The Requirements of Fed. R. Civ. P. 23(b)(3) Are Satisfied
22          Under Fed. R. Civ. P.23(b)(3), certification is appropriate if the questions of law or
23
      fact common to the members of the class predominate over individual issues of law or fact
24

25

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                                                21
27
      Plaintiff’s Unopposed Motion for Preliminary Approval of Class Action Settlement
28
     Case 2:16-cv-05124-DMG-AGR Document 237 Filed 05/17/19 Page 22 of 27 Page ID
                                      #:4591



 1
      and if a class action is superior to other available methods for the fair and efficient

 2    adjudication of the controversy.
 3
                        1. Common Questions Predominate
 4

 5          Plaintiff readily satisfies the Rule 23(b)(3) predominance requirement because

 6 liability questions common to all Settlement Class members substantially outweigh any

 7
      possible issues that are individual to each Settlement Class member.
 8

 9                      2. Class Treatment of Plaintiff’s Claims is Superior

10       Finally, resolution of hundreds of thousands of claims in one action is far superior to
11
      individual lawsuits, because it promotes consistency and efficiency of adjudication. See
12

13    Fed. R. Civ. P. 23(b)(3). For these reasons, the Court should certify the Settlement Class.

14       VI.   THE PROPOSED NOTICE                   PROTOCOL          EXCEEDS       DUE
15             PROCESS REQUIREMENTS

16          “Rule 23(e)(1)(B) requires the court to direct notice in a reasonable manner to all
17
      class members who would be bound by a proposed settlement, voluntary dismissal, or
18

19 compromise regardless of whether the class was certified under Rule 23(b)(1), (b)(2), or

20 (b)(3).” Manual for Compl. Lit. § 21.312 (internal quotation marks omitted). The best

21
      practicable notice is that which is “reasonably calculated, under all the circumstances, to
22

23 apprise interested parties of the pendency of the action and afford them an opportunity to

24 present their objections.” Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S. 306, 314

25
      (1950). To satisfy this standard, “[n]ot only must the substantive claims be adequately
26
                                               22
27
      Plaintiff’s Unopposed Motion for Preliminary Approval of Class Action Settlement
28
     Case 2:16-cv-05124-DMG-AGR Document 237 Filed 05/17/19 Page 23 of 27 Page ID
                                      #:4592



 1
      described but the notice must also contain information reasonably necessary to make a

 2    decision to remain a class member and be bound by the final judgment or opt-out of the
 3
      action.” Twigg v. Sears, Roebuck & Co., 153 F.3d 1222, 1227 (11th Cir. 1998) (internal
 4

 5    quotation marks omitted); see also Manual for Compl. Lit., § 21.312 (listing relevant

 6 information).

 7
            The Notice satisfies all of these criteria. As recited in the Settlement and above, the
 8

 9 proposed Notice program will inform Settlement Class members of the substantive terms

10 of the Settlement. It will advise Settlement Class members of their options for remaining

11
      part of the Settlement Class, for objecting to the Settlement, Class Counsel’s Attorneys’
12

13 fee application and/or request for Service Award, or for opting-out of the Settlement, and

14 how to obtain additional information about the Settlement. The Notice is designed to reach

15
      the highest percentage of Settlement Class members as practicable by providing direct
16

17 notice to Class Member’s email addresses or postal addresses that have been culled from

18 Hot Topic’s customer relations management database (“CRM”). The CRM provides a

19
      reliable source of information about the identity of Settlement Class Members and contact
20

21 information for purposes of distributing Notice. Notice also will be published through a

22 dedicated     Settlement Website, generated and administered by the Settlement
23
      Administrator. The Notice protocol far exceeds the requirements of Constitutional Due
24

25 Process. See Minter v. Wells Fargo Bank, N.A., 283 F.R.D. 268, 276 (D. Md. May 22,

26
                                               23
27
      Plaintiff’s Unopposed Motion for Preliminary Approval of Class Action Settlement
28
     Case 2:16-cv-05124-DMG-AGR Document 237 Filed 05/17/19 Page 24 of 27 Page ID
                                      #:4593



 1
      2012) (where “all class members have been identified by name from Defendant records”

 2    and notice administrator used address updating methods, supplement notice by publication
 3
      not necessary to satisfy due process); Robinson v. Fountainhead Title Grp. Corp., 2009
 4

 5    WL 2842733 *1 (D. Md., Sep. 4, 2009) (direct mailed notice with additional notice on

 6    website satisfied Rule 23 without supplement publication notice); In re Wal-Mart Stores,
 7
      Inc. Wage and Hour Litig., 2008 WL 1990806, * 2 (N.D. Cal. May 5, 2008) (denying Wal-
 8

 9    Mart’s request to include notice by publication because “the identity and location of class

10    members can be determined through reasonable efforts using Wal-Mart’s electronic
11
      records.” “[N]otice by publication is only used when the identity and location of class
12

13    members cannot be determined through reasonable efforts.”); Stickle v. SCI Western

14    Market Support Center, L.P., 2009 WL 3241790, * 7 (D. Ariz., Sept. 30, 2009) (same).
15
         VII. PROPOSED SCHEDULE
16

17           In connection with the preliminary approval of the Settlement, the Court should set
18    a date and time for the Final Approval Hearing, as well as other deadlines relevant to the
19
      Claim submission progress. Class Counsel propose the following schedule:
20

21                       Event                                             Timeline
       Deadline for Completion of Email Notice          28 days after entry of the Preliminary
22                                                      Approval Order
       Deadline for Completion of Mailed Notice         28 days after entry of the Preliminary
23                                                      approval Order
       Deadline to Publish Notice and Claim Form        14 days after Preliminary Approval Order
24
       on Settlement Website
25     Deadline for filing Motion for Final Approval
       of the Settlement                                21 days before Final Approval Hearing
26
                                                       24
27
      Plaintiff’s Unopposed Motion for Preliminary Approval of Class Action Settlement
28
     Case 2:16-cv-05124-DMG-AGR Document 237 Filed 05/17/19 Page 25 of 27 Page ID
                                      #:4594


      Deadline For Counsel’s Fee Application and     45 Days Prior to the Final Approval Hearing
 1
      expenses and for Service Award
 2    Deadline for Exclusion (opting-out) and        30 days before Final Approval Hearing
      Objections
 3    Deadline for Responses to Objections           21 days before the Final Approval Hearing
      Final Approval Hearing                         90 days after Preliminary Approval Order
 4    Last day Class Claimants may submit a Claim    60 days after the Final Approval Hearing
 5    Form

 6       VIII. CONCLUSION
 7
            Based on the foregoing, Plaintiff and Class Counsel respectfully request that the
 8

 9 Court: (1) preliminarily approve the Settlement; (2) certify the proposed Settlement Class

10 for settlement purposes; (3) approve the Notice program set forth in the Agreement and

11
      approve the form and content of the Notices and Claim Form as attached to the Settlement
12

13 Agreement; (4) approve and order the opt-out and objection procedures set forth in the

14 Agreement; (5) adopt the proposed schedule above; (6) appoint Diana Soukhaphonh as

15
      Class Representative; (7) appoint David Milian and Ruben Conitzer of Carey Rodriguez
16

17 Milian Gonya, LLP, and Robert Ahdoot of Ahdoot &Wolfson, PC, as Class Counsel; and

18 (8) schedule a Final Approval Hearing within ninety(90) days. A Proposed Preliminary

19
      Approval Order is submitted herewith as Exhibit D.
20

21

22                                            Respectfully submitted,
23
                                              By: /s/ David P. Milian
24
                                              David P. Milian (Fla. Bar No. 844421)
25                                            Email: dmilian@careyrodriguez.com
                                              Secondary: cperez@careyrodriguez.com
26
                                                    25
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      Plaintiff’s Unopposed Motion for Preliminary Approval of Class Action Settlement
28
     Case 2:16-cv-05124-DMG-AGR Document 237 Filed 05/17/19 Page 26 of 27 Page ID
                                      #:4595



 1
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 7
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12                                        Telephone: (310) 474-9111
13                                        Facsimile: (310) 474-8585

14                                        Counsel for Plaintiff and Settlement Class
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27
      Plaintiff’s Unopposed Motion for Preliminary Approval of Class Action Settlement
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     Case 2:16-cv-05124-DMG-AGR Document 237 Filed 05/17/19 Page 27 of 27 Page ID
                                      #:4596



 1
                              CERTIFICATE OF SERVICE

 2          I HEREBY CERTIFY that on May 17, 2019, a copy of the above was filed
 3
      on CM/ECF and thereby served on all parties.
 4

 5                                        By: /s/ David P. Milian
                                          David P. Milian
 6

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      Plaintiff’s Unopposed Motion for Preliminary Approval of Class Action Settlement
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